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CHAPTER 13 PLAN (Iadividual Adjustment of Debts)

 

 

 

 

CJ Original Plan
fm) FIRST Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
C] Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable}
DEBTOR: Leslie Howard Roberts JOINT DEBTOR: Silvia Helena Roberts CASE NO.: 23-10086-RAM
SS#: XXX-xXx- 8039 SS#: XXx-xx-7771
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and

modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
Rules 2002-1] (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: | Your rights may be affected by this pian. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph [X. Debtor(s) must check one box
on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a

 

 

 

 

 

 

 

partial payment or no payment at all to the secured creditor [] Included (m] Not included |

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set [1] Included [m] Not included |

out in Section IT]

Nonstandard provisions, set out in Section IX [_] Included {m] Not included
I. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10°, any unused
amount wiil be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

 

1. $4,583.62 formonths 1 to 12;
2. $11,645.02 formonths 13 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: [LI NONE [J PRO BONO
Total Fees: $10,000.00 Total Paid: $4,500.00 Balance Due: $5,500.00
Payable $2,750.00 /month (Months 1 to 2 )
Allowed fees under LR 2016-I(B\(2) are itemized below:
$10,000.00
Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

 

Ii. TREATMENT OF SECURED CLAIMS [[] NONE
SECURED CLAIMS: [ii] NONE
VALUATION OF COLLATERAL: [mg] NONE
LIEN AVOIDANCE [mi] NONE

SURRENDER OF COLLATERAL:  [—] NONE
DIRECT PAYMENTS [7] NONE

Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
The debtor(s} elect to make payments directly to each secured creditor listed below. The debtor{s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

moo pw >

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Debtor(s): Leslic Howard Roberts , Silvia Helena Ro Case number: 23-10086-RAM

 

 

 

 

 

 

 

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle. etc.)
Select Portfolio Servicing, 9512 495 Brickell Ave #622 Miami, FL 33131
I Inc
{conbrickell Tower I (1st 2201 495 Brickell Ave #622 Miami, FL 33131
2. HOA)
Iconbrickell Tower I (2nd 2201 495 Brickell Ave #622 Miami, FL 33131
3. HOA)
4 Td Auto Finance 6059 2019 Bentley Bentayga
IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)] fm NONE
Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS [1 NONE

 

A. Pay $1,375.26 Amonth (Months | to 2)

Pay $4,125.26 ‘month (Months 3  tol12 )
Pay $10,480.52 ‘month {Months 13 to 60 }
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [ml] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [lf] NONE
VL STUDENT LOAN PROGRAM [li] NONE
VIL EXECUTORY CONTRACTS AND UNEXPIRED LEASES [ii] NONE
VIE. 3=INCOME TAX RETURNS AND REFUNDS:
[| Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
IX. NON-STANDARD PLAN PROVISIONS [lB] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

/s/ Debtor May 5, 2023 isi Joint Debtor May 5, 2023
Leslie Howard Roberts Date Silvia Helena Roberts Date
Patrick L. Cordero, Esquire May 5, 2023
Date

Attorney with permission to sign on
Debtor(s)' behalf who certifies that
the contents of the plan have been

reviewed and approved by the

Debtor(s). l

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical te those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph LX.

I This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.

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